          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION

UNITED STATES OF AMERICA
                                                     SEALED
v.                                                   INDICTMENT

KEITH JELKS
                                                      I',17CRN          ~/~
THE GRAND JURY CHARGES:

                                   COUNT ONE

      Between on or about February 1,2016, and on or about February 9,2017, in

the Northern District of Florida and elsewhere, the defendant,

                                  KEITH JELKS,

did knowingly and willfully combine, conspire, confederate, and agree with other

persons to distribute and possess with intent to distribute a controlled substance,

and this offense involved 1 kilogram or more of a mixture and substance

containing a detectable amount of heroin, in violation of Title 21, United States

Code, Sections 841(a)(l) and 841(b)(l)(A)(i).

      All in violation of Title 21, United States Code, Section 846.
                                    COUNT TWO

       On or about February 9,2017, in the Northern District of Florida, the

defendant,

                                   KEITH JELKS,

did knowingly and intentionally possess with intent to distribute a controlled

substance, and this offense involved heroin.

       In violation of Title 21, United States Code, Sections 841 (a)(1) and

841 (b)(1 )(C).

                               CRIMINAL FORFEITURE

       The allegations contained in Counts One and Two of this Indictment are

hereby realleged and incorporated by reference for the purpose of alleging

forfeiture, pursuant to the provisions of Title 21, United States Code, Section 853.

       From his engagement in the violations charged in Counts One and Two of

this Indictment, punishable by imprisonment for more than one year, the

defendant,

                                   KEITH JELKS,

shall forfeit to the United States, pursuant to Title 21, United States Code, Section

853, all of his interest in:

       A.     Property constituting and derived from any proceeds the defendant

obtained, directly or indirectly, as the result of such violations.
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      B.     Property used and intended to be used in any manner or part to

commit and to facilitate the commission of such violations.

      If any of the property described above as being subject to forfeiture, as a

result of acts or omissions of the defendant:

             1.     cannot be located upon the exercise of due diligence;

             11.    has been transferred, sold to, or deposited with a third party;

             111.   has been placed beyond the jurisdiction of this Court;

             IV.    has been substantially diminished in value; or

             v.     has been commingled with other property that cannot be

                    subdivided without difficulty,




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it is the intent of the United States, pursuant to Title 21, United States Code,

Section 853(P), to seek forfeiture of any other property of the defendant, up to the

value of the above forfeitable property_

                                        A TRUE BILL:




                                        DATE




United States Attorney




Assistant United States Attorney




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